                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
          Plaintiff,                              )
                                                  )
   v.                                             )    Criminal Action No.
                                                  )    05-00029-02/04-CR-W-HFS
CARLOS BRANDON,                                   )
DAYRON JOHNSON, and                               )
WILLIAM CARTER,                                   )
                                                  )
          Defendants.                             )

                       MEMORANDUM OF MATTERS DISCUSSED AND
                       ACTION TAKEN AT PRETRIAL CONFERENCE

                                        I. BACKGROUND

        Pursuant to the order of the Court en banc of the United States District Court for the Western

District of Missouri, a pretrial conference was held in the above-entitled cause before me on October

25, 2006. Defendant Brandon appeared in person and with appointed counsel Alex McCauley.

Defendant Johnson appeared in person and with appointed counsel Susan Dill. Defendant Carter

appeared in person and with appointed counsel Melanie Morgan. The United States of America

appeared by Assistant United States Attorneys Gregg Coonrod and Amy Marcus.

        On August 9, 2006, a Second Superceding Indictment was returned charging Defendant

Brandon with one count of conspiracy to distribute and possession with the intent to distribute

cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), (b)(1)(C) and 846; one count of

aiding and abetting possession with the intent to distribute cocaine base, in violation of 21 U.S.C.

§§ 841(a)(1), (b)(1)(A) and 18 U.S.C. § 2; one count of aiding and abetting possession with the

intent to distribute cocaine, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C) and 18 U.S.C. § 2; one




        Case 4:05-cr-00029-BCW          Document 191         Filed 10/25/06      Page 1 of 6
count of aiding and abetting the possession of a firearm during a drug trafficking crime, in violation

of 18 U.S.C. §§ 924(c)(1)(A) and (c)(1)(A)(i); one count of aiding and abetting possession with the

intent to distribute cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(B) and 18 U.S.C. §

2; being a felon in possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1) and 924 (a)(2); one

count of possessing a firearm during a drug trafficking crime, in violation of 18 U.S.C. §§

922(c)(1)(A) and 924(c)(1)(A)(i); and criminal forfeiture pursuant to 21 U.S.C. § 853.

        Defendant Johnson was charged with one count of conspiracy to distribute and possession

with the intent to distribute cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), (b)(1)(C)

and 846; two counts of aiding and abetting possession with the intent to distribute cocaine base, in

violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 18 U.S.C. § 2; one count of aiding and abetting

possession with the intent to distribute cocaine, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C) and

18 U.S.C. § 2; one count of aiding and abetting the possession of a firearm during a drug trafficking

crime, in violation of 18 U.S.C. §§ 924(c)(1)(A) and (c)(1)(A)(i); one count of aiding and abetting

possession with the intent to distribute cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C)

and 18 U.S.C. § 2; being a felon in possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1)

and 924 (a)(2); possession of a firearm during a drug trafficking crime, in violation of 18 U.S.C. §§

924(c)(1)(A) and (c)(1)(A)(i); and criminal forfeiture pursuant to 21 U.S.C. § 853.

        Defendant Carter was charged with one count of conspiracy to distribute and possession with

the intent to distribute cocaine base, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), (b)(1)(C) and

846; one count of aiding and abetting possession with the intent to distribute cocaine base, in

violation of 21 U.S.C. § 841(a)(1), (b)(1)(B) and 18 U.S.C. § 2; being a felon in possession of a

firearm, in violation of 18 U.S.C. §§ 922(g)(1) and 924 (a)(2); one count of possession of a firearm


                                                   2



       Case 4:05-cr-00029-BCW            Document 191         Filed 10/25/06       Page 2 of 6
during a drug trafficking crime, in violation of 18 U.S.C. §§ 924(c)(1)(A) and (c)(1)(A)(i); and

criminal forfeiture pursuant to 21 U.S.C. § 853. On October 11, 2006, the Court granted the

government’s motion to dismiss the felon in possession charge against Defendant (Doc. No. 184).

        The following matters were discussed and action taken during the pretrial conference:

                                      II. TRIAL COUNSEL

        Mr. Coonrod announced that he and Ms. Marcus will be the trial counsel for the government.

The case agent to be seated at counsel table is Darla Harris, Kansas City Police Department.

        Mr. McCauley announced that he will be the trial counsel for Defendant Brandon; Ms. Deb

Snider will assist.

        Ms. Dill announced that she will be the trial counsel for Defendant Johnson.

        Ms. Morgan announced that she will be the trial counsel for Defendant Carter.

                                III. OUTSTANDING MOTIONS

        There are no pending motions in this case.

                                    IV. TRIAL WITNESSES

        Mr. Coonrod announced that the government intends to call twenty-seven witnesses without

stipulations or twenty-three witnesses with stipulations during the trial.

        Mr. McCauley announced that Defendant Brandon does not intend to call any witnesses

during the trial. Defendant Brandon may testify.

        Ms. Dill announced that Defendant Johnson does not intend to call any witnesses during the

trial. Defendant Johnson will not testify.

        Ms. Morgan announced that Defendant Carter intends to call two witnesses during the trial.

Defendant Carter may testify.


                                                  3



       Case 4:05-cr-00029-BCW           Document 191         Filed 10/25/06   Page 3 of 6
                                         V. TRIAL EXHIBITS

       Mr. Coonrod announced that the government will offer approximately one hundred and thirty

exhibits in evidence during the trial.

       Mr. McCauley announced that Defendant Brandon will offer approximately nine exhibits in

evidence during the trial.

       Ms. Dill announced that Defendant Johnson will offer approximately three exhibits in

evidence during the trial.

       Ms. Morgan announced that Defendant Carter will offer approximately seven exhibits in

evidence during the trial.

                                           VI. DEFENSES

       Mr. McCauley announced that Defendant Brandon will rely on the defense of general denial.

       Ms. Dill announced that Defendant Johnson will rely on the defense of general denial.

       Ms. Morgan announced that Defendant Carter will rely on the defense of general denial.

                                VII. POSSIBLE DISPOSITION

       Counsel for all three defendants stated this case is definitely for trial.

                                         VIII. STIPULATIONS

       Stipulations are likely as to chain of custody, chemists’ reports, and the firearms’ nexus.

                                          IX. TRIAL TIME

       Counsel were in agreement that this case will take four to five days to try.

                   X. EXHIBIT LIST, VOIR DIRE AND INSTRUCTIONS

       The U. S. Magistrate Judge ordered:




                                                  4



       Case 4:05-cr-00029-BCW              Document 191       Filed 10/25/06        Page 4 of 6
               Counsel for each party file and serve a list of exhibits he or she
               intends to offer in evidence at the trial of this case on the form
               entitled Exhibit Index and have all available exhibits premarked using
               the stickers provided by the Clerk of Court by Wednesday, October
               25, 2006;

               That counsel for each party file and serve requested jury voir dire
               examination questions by or before noon, Wednesday, November 1,
               2006;

               That counsel for each party file and serve, in accordance with the
               requirements of Local Rule 51.1, requested jury instructions by or
               before noon, Wednesday, November 1, 2006. Counsel are requested
               to provide proposed jury instructions in both hard copy form, as
               required by Local Rule 51.1, and, if available to counsel, 3 and 1/2
               inch computer disk in a form compatible with WordPerfect 9.0, 10.0,
               or 11.0.


                            XI. UNUSUAL QUESTIONS OF LAW

       There are no unusual questions of law. Defendant Brandon will likely file motions in limine

regarding 404(b) evidence, his manslaughter conviction, two drug convictions and a weapon charge.

Defendant Johnson will probably file motions in limine regarding 404(b) evidence and gang

references. Defendant Carter plans to file motions in limine pertaining to gang references and

homicide suspects.

                                     XII. TRIAL SETTING

       All counsel and the defendants were informed that this case will be listed for trial on the joint

criminal jury trial docket which commences on November 6, 2006. Defendant Brandon requires a

hearing device.




                                                  5



      Case 4:05-cr-00029-BCW            Document 191          Filed 10/25/06      Page 5 of 6
                                              /s/ Robert E. Larsen
                                              ROBERT E. LARSEN
                                              United States Magistrate Judge

Kansas City, Missouri
October 25, 2006

cc:    The Honorable Howard Sachs
       Mr. Gregg Coonrod
       Ms. Amy Marcus
       Mr. Alex McCauley
       Ms. Susan Dill
       Ms. Melanie Morgan
       Mr. Jeff Burkholder




                                          6



      Case 4:05-cr-00029-BCW        Document 191   Filed 10/25/06     Page 6 of 6
